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                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF INDIANA
                                    SOUTH BEND DIVISION

UNITED STATES OF AMERICA, for the use                     )
of MACALLISTER MACHINERY CO., INC.                        )
dba MACALLISTER RENTALS                                   )
                                                          )
                        Plaintiff,                        )
                                                          )
        vs.                                               )       CASE NO. 3:22-cv-414
                                                          )
NISOU LGC JV LLC and                                      )
NORTH AMERICAN SPECIALTY                                  )
INSURANCE COMPANY                                         )
                                                          )
                        Defendants.                       )

                                             COMPLAINT

        Plaintiff United States of America, for the use of MacAllister Machinery Co., Inc. dba

MacAllister Rentals (“Plaintiff”), by counsel, for its Complaint pursuant to 40 U.S.C. § 3131 et

seq. against defendants Nisou LGC JV LLC (“Contractor”) and North American Specialty

Insurance Company (“Surety”), states as follows:

                                     Parties, Jurisdiction, and Venue

        1.      MacAllister Machinery Co., Inc. dba MacAllister Rentals (“MacAllister”) is a

corporation organized and existing under the laws of the State of Indiana, with its principal place

of business located at 6300 Southeastern Avenue, Indianapolis, Indiana.

        2.      Contractor is a limited liability company organized and existing under the laws of

the State of Tennessee, with its principal place of business located at 7310 Woodward Ave.,

Suite 500, Detroit, Michigan.

        3.      Surety is a corporation organized and existing under the laws of the State of New

Hampshire, with its principal place of business located in City of Overland Park, Kansas.
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        4.      This action arises under 40 U.S.C. § 3131 et. seq.

        5.      This Court has personal jurisdiction over Contractor and Surety because they are

the Principal and Surety, respectively, of the payment bond described below issued for the federal

construction project located in Indiana which is the subject of this action. In addition, Contractor

served as general contractor for the construction project.

        6.      This Court has subject matter jurisdiction because 40 U.S.C. § 3133 et seq.

requires that this action be brought in the name of the United States for the use of MacAllister

and because a federal question exists due to MacAllister’s claim arising from a federal

construction project owned and operated by the United States Department of the Army. Federal

question jurisdiction exists under 28 U.S.C. § 1331.

        7.      Venue is appropriate under 28 U.S.C. § 1391(b) and 40 U.S.C. §3133(b)(3)

because the work under the construction contract for which the payment bond was furnished and

for which MacAllister’s claim arises was performed in this district.

                          Claim on Payment Bond Under 40 U.S.C. § 3133

        8.      On or about August 1, 2019, Contractor entered into a contract (designated as

Contract No. W912QR19C0026) with the United States of America to construct the Aerial Port

Facility at Grissom Air Reserve Base, Indiana (“Prime Contract”).

        9.      To fulfill the requirements of the Prime Contract and 40 U.S.C. § 3131(b)(2),

Contractor, as principal, and Surety, as surety, executed and delivered to the United States of

America, Payment Bond # 2290582 (“Bond”), a true and correct copy of which is attached as

Exhibit 1.

        10.     Pursuant to 40 U.S.C. § 3131(b) and the express terms of the Bond, the Bond is


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for the protection of all persons supplying labor and material or both in carrying out the work

provided for in the Prime Contract.

        11.     Contractor directly subcontracted a portion of its work under the Prime Contract

to General Restoration and Construction LLC (“Subcontractor”).

        12.     In order to perform the subcontracted work, Subcontractor rented equipment and

received related parts and services from MacAllister.

        13.     Despite demand, Subcontractor has, without justification, failed and refused to

pay MacAllister for the rental equipment and related parts and services used in carrying out work

under the Prime Contract.

        14.     Subcontractor is indebted to MacAllister for the rental equipment and related parts

and services in the principal sum of $102,442.56, plus accrued late fees of $1,201.97 as of

November 30, 2021, for the total amount of $103,644.53, plus late fees of $33.68 per diem from

and after November 30, 2021. True and correct copies of the unpaid Invoices are attached as

Exhibit 2 and incorporated herein.

        15.     On December 29, 2021, MacAllister gave Contractor written notice pursuant to 40

U.S.C. § 3133 of its claim on the Bond, which included the amount owed and the name of the

Subcontractor that MacAllister directly contracted with. A true and correct copy of the written

notice, as well as proof of its delivery to Contractor on December 30, 2021, is attached as Exhibit

3 and incorporated herein.

        16.     MacAllister gave the written notice to Contractor within 90 days from the date on

which MacAllister furnished the last of the rental equipment and related parts and services for

which MacAllister’s claim was made.


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          17.         More than 90 days have passed since MacAllister last furnished rental equipment

and related parts and services used in carrying out work provided for in the Prime Contract.

          18.        Despite MacAllister issuing demands for payment to Contractor and Surety,

Contractor and Surety have wrongfully and, in breach of their obligations under the Bond, failed

and refused to pay MacAllister’s claim.

          19.        All conditions precedent to commencing and maintaining this action have been

satisfied.

          WHEREFORE, Plaintiff requests the Court enter judgment in its favor against

Contractor and Surety, jointly and severally, in the principal sum of $102,442.56, plus accrued

late fees of $1,201.97 as of November 30, 2021, for the total amount of $103,644.53, plus late

fees of $33.68 per diem from and after November 30, 2021, and further that Plaintiff be granted

all other just and proper relief.



                                                                            RUBIN & LEVIN, P.C.
                                                                            Attorneys for Plaintiff


                                                                            By         /s/ Joshua W. Casselman
                                                                                       Joshua W. Casselman
                                                                                       Indiana Atty. No. 27055-49


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